Case 2:03-CV-02250-BBD Document 55 Filed 05/11/05 Page 1 of 2 Page|D 57

IN THE UNITED STATES DISTRICT COURT “`"H> % - *i’-<'l-
FOR THE WESTERN DISTRICT 0F TENNESSEE

SHELBY COUNTY HEALTH CARE

CORPORATION, D/B/A REGIONAL _ m

MEDICAL CENTER, ; Civil Actioh NO.; 03-CV-225 1
Plaihtiff, ;

 

V.

AURORA FOODS, and
UNITED MEDICAL RESOURCES,

Defendants.
0RDER
AND NOW, this // day Of m zg` , 20$; it is hereby ORDERED that

the Emergency Motion to Reschedule Status Conference Set for May 16, 2005 filed by

Defendants is GRANTED. The Status Conference Shall rescheduled on j§! 146 l ,

2005, ar q-'OO f}m.

By the Court:

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 55 in
case 2:03-CV-02250 Was distributed by faX, mail, or direct printing on
May ]3, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

